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                       MINUTE ENTRY FOR CRIMINAL PROCEEDING

BEFORE MAG. JUDGE          Lois Bloom                                    DATE : 9/10/19

DOCKET NUMBER:           19CR408(SJI                                LOG#:

DEFENDANT'S NAME :            Avraham Tarshish
                           \/ Pres^              Not Present        \j/Custody             Bail
DEFENSE COUNSEL:            .Xtilin \\L
                                  Federal Defender         CJA           2:Retained
A.U.S.A:    Shannon Jones                                  CLERK:        Felix Chin

INTERPRETER :                                            (Language)

^defendant arraigned on the : ^indictment             superseding indictment          probation violation
      Defendant pleads NOT GUILTY to ALL counts.
      DETENTION HEARING Held.                    Defendant's first appearance.
      ___ Bond set at                                 . Defendant         released        held pending
              satisfaction of bond conditions.
              Defendant advised of bond conditions set by the Court and signed the bond.
              Surety(ies) sworn, advised of bond obligations by the Court and signed the bond.
             (Additional) surety/ies to co-sign bond by
              After hearing, Court orders detention in custody.          Leave to reopen granted
       Temporary Order of Detention Issued. Bail Hearing set for

     At this time, defense counsel states on the record that the defendant does not have a bail
     application / package. Order of detention entered with leave to reapply to a Magistrate
     or to the District Court Judge to whom the case will be assigned.

       Order of Excludable Delay/Speedy Trial entered. Start                       Stop

       Medical memo issued.


       Defendant failed to appear, bench warrant issued.

      Status conference set for                      @              before Judge

Other Rulings :
